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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

NEIGHBORS CREDIT UNION,                             )
                                                    )
                      Plaintiff,                    )
                                                    )
v.                                                  )
                                                    )       Cause No. 4:21-cv-1477
INTEGON NATIONAL INSURANCE                          )
COMPANY,                                            )
                                                    )
                      Defendant.                    )

                          DEFENDANT’S NOTICE OF REMOVAL

        COMES NOW Defendant Integon National Insurance Company, (“Defendant”), by and

through the undersigned counsel, and, pursuant to 28 U.S.C. §1441 and 28 U.S.C. §1446, hereby

gives notice of its removal of the above-styled matter from the Circuit Court of the City of St.

Louis, Missouri to the Eastern Division of the United States District Court, Eastern District of

Missouri. In support of its removal, Defendant states as follows:

        1.     On October 22, 2021, Plaintiff Neighbors Credit Union (“Plaintiff”) commenced a

civil action in the Circuit Court of the City of St. Louis, Missouri, Case No. 2122-CC09577

(“state court action”) against Defendant.

        2.     On November 8, 2021, Plaintiff filed its First Amended Petition, correctly

identifying Defendant, which had been improperly named in Plaintiff’s original state court

Petition filed on October 22, 2021.

        3.     Plaintiff served a summons in the state court action on the Director of the

Department of Commerce and Insurance of the State of Missouri on November 17, 2021. The

Director of the Department of Commerce and Insurance of the State of Missouri mailed a copy

of the summons to Defendant on November 18, 2021 via certified mailing.
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       4.      Defendant received the certified mailing from the Director of the Department of

Commerce and Insurance of the State of Missouri containing a copy of Plaintiff’s First Amended

Petition and the accompanying summons on November 24, 2021.

       5.      Upon information and belief, Plaintiff is a credit union organized under the laws

of the State of Missouri with its principal place of business located in St. Louis County, State of

Missouri.

       6.      Defendant is an insurance company organized under the laws of the State of

North Carolina with its principal place of business located in Forsyth County, State of North

Carolina.

       7.      The monetary jurisdictional prerequisite to federal jurisdiction under 28 U.S.C.

§ 1332(a) is also satisfied. Plaintiff has pled an entitlement to an amount in excess of $75,000.00

in its First Amended Petition. Plaintiff has not stipulated that it will be seeking less than

$75,000.00. Therefore, the state court action is one which may be removed to this Court

pursuant to 28 U.S.C. §§1332(a) and 1441. Accordingly, this Court has jurisdiction over the

parties and subject matter of the state court action.

       8.      Plaintiff completed service of process on November 24, 2021.             Therefore,

pursuant to 28 U.S.C. §1446(b), this Notice is being filed within the requisite thirty (30) days

from the date of service of process and the date the case became removable.

       9.      A copy of all pleadings and papers which have been filed in the state court action

are attached hereto as Exhibit A.




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         10.   Contemporaneous with the filing of this Notice and pursuant to 28 U.S.C.

§1446(d), written notice has been mailed to Plaintiff’s attorney of record. A copy of that Notice

is attached hereto as Exhibit B.

         11.   Contemporaneous with the filing of this Notice and pursuant to 28 U.S.C.

§1446(d), written notice has been filed with the Clerk of the Circuit Court of the City of St.

Louis, Missouri. A copy of that Notice is attached hereto as Exhibit C.

         WHEREFORE, Defendant Integon National Insurance Company hereby requests that the

state court action be removed from the Circuit Court of the City of St. Louis, Missouri to this

Court.




                                                    /s/ Michael D. Cerulo
                                                    Michael D. Cerulo (#57536)
                                                    Erica Briscoe (#60683)
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                                                    ATTORNEYS FOR DEFENDANT
                                                    INTEGON NATIONAL INSURANCE
                                                    COMPANY




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                               Certificate of Electronic Filing

       I hereby certify that on December 16, 2021, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to counsel of
record. A true and correct copy of the above and foregoing was also sent via mailed, postage-
prepaid, to the following:

James G. Nowogrocki
Stephen C. Hiotis
SUMMERS COMPTON WELLS LLC
903 S. Lindbergh Blvd., Suite 200
St. Louis, Missouri 63131

/s/ Michael D. Cerulo
Attorneys for Defendant




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